  Case 1:19-cv-01108-MN Document 48 Filed 03/19/20 Page 1 of 1 PageID #: 301




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ROTHSCHILD DIGITAL                                )
CONFIRMATION, LLC,                                )
                                                  )
               Plaintiff,                         )     C.A. No. 1:19-cv-01108-MN
                                                  )       (consolidated)
       v.                                         )     C.A. No. 1:19-cv-01109-MN
                                                  )
COMPANYCAM, INC.,                                 )
                                                  )
               Defendant.                         )

             NOTICE OF DISMISSAL OF COMPLAINT WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a), Plaintiff Rothschild Digital Confirmation, LLC

(“Plaintiff”) notices the dismissal with prejudice of this action. Because the defendant has not

answered or filed a motion for summary judgment, there is no requirement for a court order and

the dismissal takes immediate effect.


                                                      By: /s/ Stamatios Stamoulis_____
Dated: March 19, 2020                                 Stamatios Stamoulis #4606
                                                      800 N. West Street, Third Floor
                                                      Wilmington, DE 19801
                                                      (302) 999-1540
                                                      stamoulis@swdelaw.com




                                CERTIFICATE OF SERVICE

       I, Stamatios Stamoulis, certify that on March 19, 2020 this document was electronically

filed with the Clerk of the Court using the CM/ECF system and will be sent electronically to the

registered participants as identified on the Notice of Electronic Filing (NEF).

                                                                     /s/ Stamatios Stamoulis______
                                                                      Stamatios Stamoulis
